
Compas Medical, P.C., as Assignee of Icart, Lisanda, Appellant, 
against21st Century Insurance Company, Respondent.




The Rybak Firm, PLLC (Damin J. Toell of counsel), for appellant.
Law Offices of Buratti, Rothenberg &amp; Burns (Maryana Feigen of counsel), for respondent.

Appeal from an order of the Civil Court of the City of New York, Kings County (Reginald A. Boddie, J.), entered September 8, 2015. The order granted defendant's motion for summary judgment dismissing the complaint.




ORDERED that the order is affirmed, with $25 costs.
In this action by a provider to recover assigned first-party no-fault benefits, plaintiff appeals from an order of the Civil Court which granted defendant's motion for summary judgment dismissing the complaint on the ground that it had fully paid plaintiff for the services at issue, which had been rendered prior to April 1, 2013, in accordance with the workers' compensation fee schedule.
Contrary to plaintiff's contention, the proof submitted by defendant in support of its motion was sufficient to give rise to a presumption that the denial of claim forms had been properly mailed (see St. Vincent's Hosp. of Richmond v Government Empls. Ins. Co., 50 AD3d 1123 [2008]) and to demonstrate that defendant had properly used the workers' compensation fee schedule to determine the amount which plaintiff was entitled to receive for the services at issue.
Accordingly, the order is affirmed.
PESCE, P.J., ALIOTTA and ELLIOT, JJ., concur. 
ENTER:
Paul Kenny
Chief Clerk
Decision Date: May 25, 2018










